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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                  NORTHERN DIVISION

SHUNDA WILKINS, DIANN
GRAHAM, and DAVID WATSON, on
behalf of themselves and all others
similarly situated,

               Plaintiffs,                             Case No. 3:20-cv-00116-DPM

       vs.

SIMMONS BANK,

               Defendant.

     MEMORANDUM IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

       Plaintiffs Shunda Wilkins, Diann Graham, and David Watson oppose dismissal of their

Amended Class Action Complaint (“Complaint”) (ECF No. 15). For the reasons explained

herein, dismissal is not warranted, and Defendant’s Motion to Dismiss (“Motion”) (ECF No. 23)

should be denied.

I.     INTRODUCTION

       This Court has already denied a similar motion to dismiss once, and it should do so again.

In Tannehill v. Simmons Bank, No. 2019 WL 7176777, at *1 (E.D. Ark. Oct. 21, 2019), the

plaintiff alleged that Simmons charged multiple fees on the same item and brought claims for

breach of contract, breach of the implied covenant of good faith and fair dealing, and unjust

enrichment. Simmons moved to dismiss, arguing that the contract expressly permitted the

assessed fees, and that the plaintiff’s suit was barred by the error resolution provision. This

Court denied Simmons’ motion to dismiss. Since the Court’s ruling in Tannehill, at least fifteen

other courts presiding over identical claims have followed this Court and denied motions to
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dismiss. Since the Court’s last order, the legal landscape has grown far rockier for Simmons.

There is no basis to ask the Court to reconsider its prior ruling. 1

        The practice at issue in this litigation is the assessment of multiple $35 fees on the same

(often small dollar) electronic transaction or check when reprocessed again and again after

initially being returned for insufficient funds. The practice is punitive and predatory, as it often

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  Other decisions denying financial institutions’ motions to dismiss include: Morris v. Bank of
Am., N.A., 2019 WL 1304928 (W.D.N.C. Jan. 8, 2019), report and recommendation adopted in
part, 2019 WL 1421166 (W.D.N.C. Mar. 29, 2019) (denying motion to dismiss in challenge to
multiple NSF Fees on the same item); Tisdale v. Wilson Bank & Trust, No. 19-400-BC
(Davidson Cty. Tenn. Chancery Ct. Oct. 17, 2019) (same) (attached as Exhibit 1); Garcia v.
UMB Bank, N.A., No. 1916-CV01874 (Jackson Cty. Mo. Cir. Ct. Oct. 18, 2019) (attached as
Exhibit 2); Noe v. City Nat’l Bank of W. Va., No. 3:19-cv-0690 (S.D. W. Va. Feb. 19, 2020)
(ECF No. 17) (same) (attached as Exhibit 3); Perri v. Notre Dame Fed. Credit Union, No.
71C01-1909-PL-000332 (St. Joseph Cty. Ind. Cir. Ct. Mar. 2, 2020) (finding additional fees
could not be assessed each time because “these are the same item or transaction and they do not
morph into a separate or new item simply because the third party presents the transaction for
payment a second or third time”) (attached as Exhibit 4); Ingram v. Teachers Credit Union, No.
49D01-1908-PL-O25431 (Marion Cty. Ind. Super. Ct. Feb. 18, 2020) (same) (attached as
Exhibit 5); Almon v. Independence Bank, Case No. 19-CI-00817 (McCracken Cty. Ky. Cir. Ct.
Mar. 18, 2020) (finding the contract “ambiguous”) (attached as Exhibit 6); McMurrin v.
America First Credit Union, No. 190909065 CN (Salt Lake Cty. Utah Dist. Ct. May 5, 2020)
(same) (attached as Exhibit 7); Romohr v. The Tennessee Credit Union, No. 19-1542-BC
(Davidson Cty. Tenn. Chancery Ct. May 19, 2020) (“there is no definition of ‘item’ in the
Account Agreement or Fee Schedule…. The Fee Schedule does not clarify this ambiguity
because it just says ‘Non-Sufficient Funds (NSF): $32 (all types)’”) (attached as Exhibit 8);
Vocaty v. Great Lakes Credit Union, No. 19-L-727 (Lake Cty. Ill. Cir. Ct. June 3, 2020) (“As to
the NSF for assessing fees each time a merchant submits a single charge to be paid, there is no
language within the contract that unambiguously authorizes multiple charges. The term ‘per
item’ is not defined and taking plaintiff’s allegations to be true, a trier of fact could reasonably
infer that “item” is defined by the initial charge made by [the credit union’s] customer, not each
time a merchant submits it to [the credit union]”) (attached as Exhibit 9); Duncan v. Bancfirst,
No. CJ-2020-348 (Okla. Cty. Dist. Ct. June 3, 2020) (denying a motion to dismiss finding
“[t]here may or may not be an ambiguity with regard to the phrase ‘drawing an item’”) (attached
as Exhibit 10); Brown v. Educators Credit Union, No. 2019CV1814 (Racine Cty. Wis. Cir. Ct.
July 1, 2020) (Dkt. 51) (denying motion to dismiss multiple NSF claim) (attached as Exhibit
11); Baptiste v. GTE Fed. Credit Union d/b/a GTE Fin., No. 20-CA-002728 (Hillsborough Cty.
Fla. Cir. Ct. July 8, 2020) (same) (attached as Exhibit 12); Teel v. HAPO Community Credit
Union, No. 19-2-03193-03 (Benton Cty. Wa. Super. Ct. Aug. 7, 2020) (same) (attached as
Exhibit 13); Darty v. Scott Credit Union, No. 19L0793 (St. Clair Cty. Ill. Cir. Ct. June 24, 2020)
(same) (attached as Exhibit 14); Young v. The Wash. Trust Co., No. 1:10-cv-524-WES-PAS
(D.R.I. June 2, 2020) (same) (attached as Exhibit 15).
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results in over $100 in bank fees on a single payment attempt by an accountholder already

struggling to make ends meet. Because the multiple-assessment practice is so extreme, leading

for-profit banks like JP Morgan Chase refuse to engage in it. Other banks that use this practice

explicitly disclose it.   Simmons makes no such disclosures and, instead, promises its

accountholders the opposite.

       Indeed, Simmons promises a single Return Item fee will be assessed per “item.”

Plaintiffs assert that an “item” is the same “item” when it is reprocessed a second or third time

after an initial return for insufficient funds.   This is because the term “item” refers to an

accountholder’s order or instruction for payment (no matter how many times that order or

instruction is re-processed by a bank or merchant). 2 Contrarily, Simmons contends that each

time it reprocesses an “item” for payment, this “item” transforms into a new “item” that can be

charged a new Return Item fee. As discussed below, Simmons is wrong. Because Plaintiffs

have pled a reasonable meaning of the contract to support their claims, the contract must be read

in Plaintiffs’ favor as the non-drafting party. At best for Simmons, the terms are ambiguous.

       This is precisely what courts across the country have found in a recent wave of decisions

challenging the identical bank fee practice that is challenged here. In addition to the many cases

listed in footnote 1 – all of which Simmons fails to mention – two federal courts recently made

the same finding. Perks v. TD Bank, N.A., 2020 WL 1272246, at *1 (S.D.N.Y. Mar. 17, 2020)

(denying a motion to dismiss because “the definition of ‘item’ is ambiguous with regard to

whether a resubmission of an ACH transaction is a separate item or is part of the same initial

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  NSF Fees, assessed when a bank rejects an attempted payment, are distinct from overdraft fees
(“OD Fees”), assessed when a bank authorizes and pays a transaction even though there are
insufficient funds. When a bank pays an overdraft, a bank advances funds in return for the OD
Fee it assesses. When, on the other hand, a bank rejects an electronic or check payment for
insufficient funds, it is not paid and is often reprocessed repeatedly (through no action of the
customer).
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ACH transaction”); Coleman v. Alaska USA Fed. Credit Union, 2020 WL 110742, at *1 (D.

Alaska Jan. 9, 2020) (denying a motion to dismiss because it “is plausible that a member could

have expected to only be charged one NSF fee when she only gave one authorization for an ACH

transaction, no matter how many times the merchant presented the transaction for payment”).

The Perks and Coleman orders are merely the latest in a wave of decisions denying motions to

dismiss in identical cases in state and federal courts across the country.

       The same result is warranted here, and the Motion should be denied in its entirety.

II.    FACTUAL BACKGROUND

       A.      Plaintiff Wilkins’s Experience.

       On December 6, 2017, Plaintiff Wilkins attempted an electronic payment to Liberty

National for her insurance premium in the amount of $72.93. Complaint, ¶ 22. Simmons

rejected payment of the item due to insufficient funds in Plaintiff’s account and charged her a

$35 fee for doing so. Ms. Wilkins does not dispute the initial fee, as it is allowed by Simmons’s

Deposit Agreement. Id. at ¶ 23. Unbeknownst to Plaintiff, and without her request to Simmons

to reprocess the item, however, twelve days later, on December 18, 2017, Simmons processed

the same item yet again, and again Simmons rejected the item due to insufficient funds and

charged Ms. Wilkins another $35 fee. Id. at ¶ 24. In sum, Simmons assessed Plaintiff Wilkins

$70 in fees in its effort to process a single payment of $72.93. Id. at ¶ 25. Ms. Wilkins

understood the payment to be a single item pursuant to the terms of Simmons’s contract, capable

at most of receiving a single Return Item Fee (if Simmons returned it) or a single Overdraft Fee

(if Simmons paid it). Id. at ¶ 26.

       Since Ms. Wilkins’s account was negative by more than $500 at the time the Return Item

Fee was charged, there were insufficient funds to pay this fee. Id. at ¶ 30. This liability,



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however, was due immediately pursuant to the Deposit Agreement. Id. Defendant closed

Plaintiff Wilkins’s account and notice regarding the closure was sent to Ms. Wilkins on

December 22, 2017. Id. at ¶ 31. The account was still negative $545.21 at the time the account

was closed. See ECF No. 9-4, p. 3. Although Plaintiff has not paid the Return Item Fee, per the

Deposit Agreement, Plaintiff was and is immediately liable for that charge. In fact, per the

Deposit Agreement, Ms. Wilkins “still owes Simmons the remaining balance.” Id. at ¶ 32.

       In fact, Defendant has confirmed in writing that Ms. Wilkins in fact owes the debt in a

writing dated December 22, 2017 in which Defendant stated to Plaintiff: “We intend to recover

the debt you owe. We have sent your account to a collection agency.” See ECF No. 9-5 (filed

under seal). And Defendant confirmed the negative balance at the time the account was closed

was negative $545.21, including the Return Item Fee. See ECF No. 10, p. 7.

       B.      Plaintiff Graham’s Experience.

       On August 5, 2019, Ms. Graham attempted an electronic payment to Alder Holdings,

LLC in the amount of $44.19. See Complaint, ¶ 36. Simmons rejected payment of the item due

to insufficient funds in Plaintiff’s account and charged her a $35 fee for doing so on August 6,

2019. Ms. Graham does not dispute the initial fee, as it is allowed by the Deposit Agreement.

Id. at ¶ 37. Unbeknownst to Ms. Graham, and without her request to Simmons to reprocess the

item, however, three days later, on August 9, 2019, Simmons reprocessed the same item yet

again, and again Simmons rejected the item due to insufficient funds and charged Plaintiff

another $35 fee on August 12, 2019. Id. at ¶ 38. In sum, Simmons assessed Ms. Graham $70 in

fees in regard to a single payment of $44.19. Id. at ¶ 39.

       On August 5, 2019, Ms. Graham attempted an electronic payment to Primerica Life

Insurance Company for her insurance premium in the amount of $41.17. Id. ¶ 40. Simmons



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rejected payment of the item due to insufficient funds in Plaintiff’s account and charged her a

$35 fee for doing so on August 6, 2019. Ms. Graham does not dispute the initial fee, as it is

allowed by the Deposit Agreement. Id. at ¶ 41. Without Ms. Graham’s request to Simmons to

reprocess the item, however, eleven days later, on August 16, 2019, Simmons processed the

same item yet again, and again Simmons rejected the item due to insufficient funds and charged

Plaintiff another $35 fee on August 19, 2019. Id. at ¶ 42. In sum, Simmons assessed Ms.

Graham $70 in fees in regard to a single payment of $41.17. Id. at ¶ 43.

         C.      Plaintiff Watson’s Experience.

         On or about January 5, 2016, an electronic payment in the amount of $367.05 was

attempted on Mr. Watson’s account. Id. at ¶ 47. Simmons rejected payment of the item due to

insufficient funds in Plaintiff’s account and charged him a $30 fee for doing so on January 5,

2016. 3 Mr. Watson does not dispute the initial fee, as it is allowed by the Deposit Agreement.

Id. at ¶ 48.     Six days later, or about January 11, 2016, Simmons, without Mr. Watson’s

authorization or request, attempted to reprocess the item. Id. at ¶ 49. Simmons again rejected

the item due to insufficient funds and charged Mr. Watson another $30 fee on January 11, 2016.

Id. at ¶ 50. Thus, Simmons assessed Mr. Watson $60 in fees in regard to a single payment. Id. at

¶ 51.

         On or about January 26, 2016, an electronic payment in the amount of $108.10 was

attempted on his account. Id. at ¶ 52. Simmons rejected payment of the item due to insufficient

funds in Plaintiff’s account and charged him a $30 fee on January 26, 2016 for doing so. Mr.

Watson does not dispute this initial fee, as it is allowed by Simmons’s Deposit Agreement. Id. at

¶ 53.      However, six days later, on February 1, 2016, Simmons, without Mr. Watson’s



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    At this period in time, Simmons was charging $30 for a Return Item Fee or an Overdraft Fee.
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authorization or request, attempted to reprocess the item. Id. at ¶ 54. Simmons again rejected

the item due to insufficient funds and charged Mr. Watson another $30 fee on February 1, 2016.

Id. at ¶ 55. Thus, Simmons assessed Mr. Watson $60 in fees in regard to a single payment. Id. at

¶ 56.

III.    LEGAL STANDARD

        Dismissal is proper only if a complaint fails to state a claim upon which relief can be

granted. Fed. R. Civ. P. 12(b)(6). In assessing a motion to dismiss, courts accept all factual

allegations as true and view them most favorably to the plaintiff. Hager v. Ark. Dep’t of Health,

735 F.3d 1009, 1013 (8th Cir. 2013). As this Court stated in Page v. Arkansas State University:

        A motion to dismiss should not be granted merely because the complaint “does
        not state with precision all elements that give rise to a legal basis for recovery.”
        Schmedding v. Tnemec Co., 187 F.3d 862, 864 (8th Cir. 1999). A complaint need
        only contain “a short and plain statement of the claim showing that the pleader is
        entitled to relief.” Id. (quoting Fed. R. Civ. P. 8(a)). Specific facts are not
        required; the complaint simply must “give the defendant fair notice of what the . .
        . claim is and the grounds upon which it rests.” Erickson v. Pardus, 551 U.S. 89,
        93 (2007) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)).
        “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need
        detailed factual allegations, a plaintiff’s obligation to provide the ‘grounds’ of his
        ‘entitle[ment] to relief’ requires more than labels and conclusions, and a formulaic
        recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at
        555 (citations omitted). Stated differently, the nonmoving party must “raise a
        right to relief above a speculative level.” Schaaf, 517 F.3d at 549.

2014 WL 584792, at *2 (E.D. Ark. Feb. 14, 2014).

IV.     ARGUMENT

        A.     Plaintiffs Adequately Allege that the Assessment of Multiple Return Item
               Fees on the Same Item Is a Breach of the Account Documents.
        A contract must be interpreted “to give the parties’ words the meaning that they intended

them to have.” Prochazka v. Bee-Three Dev., LLC, 466 S.W.3d 448, 452 (Ark. Ct. App. 2015).

“A contractual provision is ambiguous when…there is doubt or uncertainty as to its meaning so

that it is open to at least two reasonable interpretations.” Id. Because the contract here is at best

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ambiguous, and because meaning of an ambiguous contract term is a question of fact, which at

this stage must be answered in Plaintiffs’ favor, Plaintiffs state a claim for breach of contract,

and Defendant’s motion must be denied.

               1. Simmons Should Not Assess More Than One NSF Fee on the Same
                  “Item” or “Transaction.”
       Simmons’ Fee Schedule promises a single Return Item Fee may be assessed per “item”:

       A fee may be imposed if you overdraw your account. When you write a check,
       withdraw money in person or from an ATM, use your debit card to make a purchase, or
       make an automatic bill payment or other electronic payment for more than the amount in
       your account; you overdraw your account. Simmons Bank has the choice to either pay the
       item or not. If we pay even though you don't have the money in your account; you may
       be charged a Paid Item Fee (Overdraft Fee). If we return your item without paying it
       you may be charged a Return Item Fee (Insufficient Funds (NSF) Fee.

       […]

       Paid Item/Overdraft Fee Per Item
       Non-Customer: Not offered
       Customer: $35.00

       Return Item/Insufficient Funds (NSF) Fee Per Item
       Non-Customer: Not offered
       Customer: $35.00

Complaint, ¶ 61 (emphasis added).

       These disclosures make myriad promises that bar the assessment of multiple Return Item

Fees on the same “item.” The first provision makes two separate promises that “a fee” (singular)

may be imposed. And the promise is that “a fee” (singular) may be imposed if and only if a

particular action occurs: “when you . . . make an . . . electronic payment.” In other words, fee

assessment is tied directly to the action of an accountholder – the “making” of an electronic

payment – by you. “A fee” (singular) may be assessed when “you write . . . withdraw . . . use . . .

or make” a payment. Plaintiffs “made” only one payment attempt each, even if behind the

scenes, Simmons and the merchants were processing that same payment over and over again.


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       A plain, common sense reading of these contract provisions bar Simmons’s multiple-fee

practice, since it promises a single fee per “item,” not a fee each time that item is processed or

presented. Here, there is simply no contractual authorization for assessing a Return Item Fee

each time the same “item” is returned, contrary to Simmons’s argument. Because Plaintiffs

authorized only a single payment, the contract permits Simmons to charge, at most, a single fee

on that payment. When Simmons instead charges multiple fees based on that single payment

(when it, in fact, charged a fee each time the same item was processed), Simmons breaches the

contract. An “item” is still the same “item” even if reprocessed multiple times.

       “Item” has a well-understood industry meaning, in which “item” refers to an

accountholder’s instruction for payment, not a merchant’s attempt to collect on that payment.

This industry definition comports with the Arkansas Unified Commercial Code (“UCC”), which

defines item in the same way.      See Ark. Code Ann. § 4-4-104 (2020) (“‘Item’ means an

instrument or a promise or order to pay money[.]”)

       Contrary to Simmons’s argument, this industry usage comports with the National

Automated Clearinghouse Association (“NACHA”) rules that are incorporated by reference into

the contract. As discussed further below, under the rules’ terminology, a merchant’s request for

payment via the ACH network, pursuant to an instruction for payment by the consumer, is called

an “Entry,” which “shall be deemed an ‘item’ within the meaning of” the UCC. 4 NACHA’s

rules specifically prohibit a merchant from altering a re-presented entry in an attempt to make it

look like a customer has authorized a new payment request. 5 Thus, contrary to Simmons’s

argument, the rules make clear that a “re-presented” entry is just another request for payment of

4
 NACHA Operating Rules & Guidelines § 8.33 (emphasis added).
5
  ACH Operations Bulletin #1-2014: Questionable ACH Debit Origination: Roles and
Responsibilities of ODFIs and RDFIs, NACHA (2014), https://perma.cc/A4PF-PWMR (Aug. 13,
2020).
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the original entry, not a separate entry (or “item”) that could trigger an additional Return Item

Fee. There is no doubt that the NACHA rules support Plaintiffs’ claims. In Tannehill, this Court

denied Simmons’ motion to dismiss, explaining that the parties’ arguments, which concern both

the contract’s meaning and “the rather complicated ACH rules,” meant “the Court [was]

unable….to hold unequivocally at the threshold that [Plaintiff’s] breach claim fails as a matter of

law.” 2019 WL 7176777 at *1. At the very least, that is still true.

       Accordingly, Simmons’s disclosures reasonably mean a single Return Item Fee or

Overdraft Fee may be charged for each “item.” These provisions, along with the common sense,

industry usage, and contractual context, must mean an “item” cannot become a new “item” when

Simmons returns and reprocesses it one or more times.

               2. Directly Applicable Case Law Supports Denial of the Motion.

       As introduced above, courts throughout the country have recently denied motions to

dismiss like Simmons’s Motion. Plaintiffs’ basic premise – that it is at best ambiguous whether

an “item” or “transaction” becomes a new “item” or “transaction” when re-presented two or

three times – has repeatedly been upheld in numerous cases Simmons ignores. The same result

should apply here.

       For example, the court in Perks determined:

       the definition of ‘item’ is ambiguous with regard to whether a resubmission of an
       ACH transaction is a separate item or is part of the same initial ACH transaction,
       and that ambiguity must be read in favor of Plaintiffs at this stage. Because
       Plaintiffs’ proposed construction is a reasonable construction of the
       Agreement, Plaintiffs have sufficiently alleged a breach resulting from
       multiple overdraft charges imposed as a result of resubmissions of a single
       ACH transaction.

2020 WL 1272246, at *3 (emphasis added).




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       Similarly, in Perri, the court denied a motion to dismiss in a case involving an essentially

identical claim. The court reasoned:

       The Court agrees with Plaintiff that ultimately these are the same item or
       transaction and they do not morph into a separate or new item simply
       because the third party presents the transaction for payment a second or
       third time. It is incumbent on Defendant to identify language in its contract with
       Plaintiff that unambiguously provides that a separate or additional NSF or
       overdraft fee could be imposed on the same transaction. The Agreement before
       the Court in this case does not do so.

Exhibit 4 at 6 (emphasis added).

       The same result was reached in Almon, supra where with respect to the meaning of the

term “item,” the court held that “[b]oth [parties’] interpretations are reasonable; therefore, the

Court finds that the contract is ambiguous.” Exhibit 6 at 3.

       Most recently, in Romohr v. The Tennessee Credit Union, the court considered the same

multiple NSF practice Plaintiffs challenge here.        After reviewing the operative contract

documents, the court found that, like here,

       there is no definition of ‘item’ in the Account Agreement or Fee Schedule, and
       that does lend some ambiguity to the analysis of whether or not an authorized
       ACH is one item, or is an item each time it is submitted. The Fee Schedule does
       not clarify this ambiguity because it just says “Non-Sufficient Funds (NSF): $32
       (all types).”

Exhibit 8 at 5-6. The court, therefore, held that “[g]iven the standard applicable to . . . motions

to dismiss, and the subject agreement, with its associated ambiguity, the Court denies Tennessee

Credit Union’s motion to dismiss [plaintiff’s] breach of contract claim.” Id. at 6.

       Similarly, the well-reasoned, 18-page order in Coleman denied the motion to dismiss

with respect to plaintiff’s breach of contract and breach of the implied covenant of good faith and

fair dealing claims because “[i]t is plausible that a member could have expected to only be




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charged one NSF fee when she only gave one authorization for an ACH transaction, no matter

how many times the merchant presented the transaction for payment.” 2020 WL 110742, at *9.

       Even more recently, in Baptiste v. GTE, the plaintiff asserted that GTE’s practice of

assessing a non-sufficient funds fee each time GTE returned a check or ACH payment request

for non-sufficient funds breached GTE’s account agreement. GTE moved to dismiss, arguing

that the account agreement’s promise to assess a fee “per occurrence…or per item”

unambiguously authorized GTE to assess a fee each time it returned an item due to insufficient

funds. Exhibit 12 at 6. The court noted that “item is a term subject to multiple constructions”

and nothing in the fee schedule “address[ed] the present situation, which can occur and does

occur, apparently at the sole discretion of GTE and the payee, not the account owner.” Id. at 5

(emphasis in original). The court thus found ambiguity regarding the assessment of fees in such

circumstances and determined that the plaintiff’s understanding of “item” to mean an

accountholder instruction for payment was reasonable. Id. at 5-6.

       The court also considered the contracts of other financial institutions that plainly and

unambiguously disclosed the multiple fee practice. The court stated such clear disclosures

provided an “apt juxtaposition” to GTE’s contract as they indicated that “the precise practice

challenged here . . . is commonly expressly disclosed in banking” and “there is a broad usage

through banking where ‘item’ means what Plaintiff plausibly pleads it mean[s] in the absence of

contractual language defining that key term otherwise.” Id. at 7 n.1. Accordingly, the court

held, “at best, the Fee Schedule is ambiguous” because “the contract language and

aforementioned [NACHA] rules and industry standards all could reasonably mean that an ‘item’

does not become a new ‘item’ when it is reprocessed.” Id. at 7. The court thus denied the




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motion to dismiss the plaintiff’s claim for breach of contract, including the implied covenant of

good faith and fair dealing. Id. at 5-8.

       In another recent decision, Darty v. Scott Credit Union, the court denied a motion to

dismiss an identical claim for breach of contract, including the implied covenant of good faith

and fair dealing, where the account agreement “plainly promise[d] to only assess ‘a charge for

each item’ and the Fee Schedule plainly promise[d] to only assess a fee ‘Per Item.’” Exhibit 14

at 12. Applying this language, the court denied the motion to dismiss the breach of contract

claim “[b]ecause the 2018 Agreement . . . is silent regarding the assessment of fees when a

merchant resubmits an item[] and fails to define ‘per item’” and, therefore, “nothing in the 2018

Agreement . . . unambiguously authorize[d] multiple charges on the same item returned for

insufficient funds.” Id. at 13, 15.

       Similarly, in Brown v. Educators Credit Union, the court denied a motion to dismiss

claims that the defendant credit union’s practice of assessing multiple fees on a single item

breached the parties’ contract, including the implied covenant of good faith. Exhibit 11 at 2.

The credit union asserted that its contract unambiguously allowed for the imposition of multiple

fees; however, the court rejected the credit union’s argument, noting the plaintiff challenged the

credit union’s interpretation as “contrary to industry standards” and “ambigu[ous] when read

with other provisions of the contract.”        Id. at 2.   Thus, the court found that “reasonable

individuals may disagree with the actual meaning of the membership agreement regarding

assessment of NSF charges and accordingly the motion to dismiss the breach of contract claim

must be denied.” Id.

       There is nothing that distinguishes Simmons’s contractual promises from the ones made

by other defendant banks in the cases above. As this robust body of case law shows, the same



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check, automatic bill payment, or other electronic payment on an account is not reasonably

understood to be a new “item” each time it is rejected for payment then reprocessed, especially

when – as here – Plaintiffs took no action to resubmit the item. The account documents here do

not provide contract language that the same item is eligible to incur multiple fees. At best, the

contract language at issue is ambiguous on this point. Because the meaning of an ambiguous

contract term is a fact question, Plaintiffs have stated a breach of contract claim and the motion

must be denied.

               3. Banks and Credit Unions Large and Small Use the Term “Item” in the
                  Common Sense, Plain Way that Plaintiffs Urge.
       Simmons’s multiple fee practice is not universal.        For example, Chase charges a

maximum of one NSF Fee per item. Complaint, ¶ 19. First Financial Bank engages in the same

abusive multiple fee practice as Simmons, however (unlike Simmons) it expressly provides in its

deposit agreement that “[m]erchants or payees may present an item multiple times for payment if

the initial or subsequent presentment is rejected due to insufficient funds or other reason

(representment). Each presentment is considered an item and will be charged accordingly.” This

disclosure and many other examples are provided in the Amended Complaint. Id. at ¶¶ 73-78.

These disclosures are important because (a) they indicate that the precise practice challenged

here – assessment of multiple fees on the same item – is commonly expressly disclosed in the

banking industry, and (b) they show there is a broad usage throughout banking where “item”

means what Plaintiffs say it means, i.e., that an “item” does not become a new “item” when it is

reprocessed. Simmons, not Plaintiffs, offers an unusual, unanticipated definition of the common

term “item,” one the Court should construe is unreasonable for the contract.

       The Amended Complaint alleges the existence of an industry practice that directly

contradicts Simmons’s interpretation of the contract. This industry definition comports with the


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Arkansas UCC, which defines item in the same way. See supra (“‘Item’ means an instrument or

a promise or order to pay money”). Again, Plaintiffs only made one “promise or order to pay

money” – they only wanted to pay a given bill once, not many times.

                4. NACHA Itself Uses a Similar Term (“Entry”) in the Same Way and Bars
                   Authorizations or Orders from Anyone Except Accountholders.

         Plaintiffs’ ACH payment took place over Automated Clearing House (ACH) system

which, as Simmons correctly points out, is governed by the NACHA Rules. NACHA is “a

transaction processing system that facilitates electronic transfer of funds between financial

institutions, usually on behalf of account holders.” Dillon v. BMO Harris Bank, N.A., 856 F.3d

328, 330 (4th Cir. 2017). Contrary to Simmons’s argument, however, the NACHA Rules

support Plaintiffs’ contract interpretation of the meaning of the terms “item” and “transaction.”

         To initiate an ACH payment from a consumer’s account, a merchant must first obtain the

consumer’s account information and authorization to transfer funds. See 15 U.S.C. § 1693e.

The Electronic Funds Transfers Act requires that the consumer’s authorization be “in writing.”

Id. Once authorization is obtained, the merchant’s financial institution can submit a request for

payment to the ACH network, which is forwarded by the network to the consumer’s bank or

credit union. See History of NACHA and the ACH Network, NACHA (Aug. 13, 2020). 6 If all

goes smoothly, the consumer’s bank or credit union will then debit the consumer’s account for

the amount of the payment. See id.

         The NACHA Rules allow a financial institution to “return” an ACH payment request for

“any reason.”      NACHA, Operating Rules & Guidelines § 3.8 (2013). Under NACHA’s

terminology, a request for payment via the ACH network is called an “Entry.” A financial

institution’s return of an “Entry” without payment is called a “Return Entry.” See id. §§ 8.33,

6
    Available at https://perma.cc/YJW5-Q6NY (last visited August 18, 2020).
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8.79 (emphasis added). When an entry is returned for insufficient funds, NACHA’s rules allow a

merchant to make additional attempts to obtain payment by “re-presenting” (or “reinitiating”) the

returned entry. See id. § 2.12.4.2. To ensure that the receiving financial institution recognizes

the merchant’s payment request is a “re-presented” entry rather than a new one, the request must

“contain the identical data as the original” and include the label “RETRY PYMT.” See id. The

rules prohibit a merchant from altering a previously returned entry to look like a new entry. Id.

           In addition to any fee that the customer’s bank or credit union may charge for a returned

entry, the merchant whose payment request was returned may also impose its own fee.

NACHA’s rules, however, permit the merchant to charge only one such fee for a single “returned

entry,” even if the merchant re-presents that entry multiple times. See NACHA Operating Rules

& Guideline § 2.14.4 (emphasis added). Thus, the rules thus make clear that a “re-presented”

entry is just another request for payment of the original entry, not a separate entry (or “item”)

that could trigger an additional fee.

           NACHA Rules also make clear that an “Entry” is the same “Entry” when reprocessed

unless the merchant receives a new authorization from the consumer for the payment amount:

           a debit Entry will not be treated as a reinitiated Entry if:

      •    the debit Entry is one in a series of preauthorized, recurring debit Entries and is
           not contingent upon whether an earlier debit Entry in the recurring series has been
           Returned; or,
      •    the Originator obtains a new authorization for the debit Entry after it receives the
           original Return Entry.

Id.

           The NACHA Rules, in other words, make clear that such authorizations can only come

from accountholders, not from merchants, and indeed it is fraudulent for merchants to code

transactions otherwise. This directly rebuts Simmons’s argument that the merchant can initiate a



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new, separate “item” or “transaction” merely by reprocessing an old one. Read in conjunction

with the NACHA Rules, Simmons’s contract does not authorize more than one fee on the same

item. Indeed, this Court in Tannehill denied a motion to dismiss on this basis. See supra. 7

               5. Simmons’s Arguments Fail.

       Ignoring the overwhelming authority rejecting materially identical arguments, Simmons

again argues that its contract allows it to impose an unlimited number of fees on the same item or

transaction. Simmons is still wrong.

       The Bank’s main argument is based on misconstruing the allegations in Plaintiffs’

Complaint. Simmons argues that “Plaintiffs’ theory that multiple withdrawal requests submitted

days or weeks apart constitute a single ‘Item’ is based on a fiction that merchants submitted

single withdrawal requests through the ACH Network that Simmons purportedly chose to

process multiple times.” ECF No. 23, p. 8. But there is no “fiction” here. As discussed above,

merchants and Simmons may reprocess the same item under the NACHA rules. Plaintiffs never

allege otherwise. What is at issue, simply, is what Simmons’ contract documents provide about

fee assessment – something which is not governed by NACHA Rules, but governed by

Simmons’ own contract documents. Those contract documents do not say Simmons will charge

a new fee (whether Return Item or Overdraft) each time it reprocesses an item. Furthermore, it

plainly states the bank will only charge a fee “per item.” That is the basis for Plaintiffs’ claims.

       Simmons also argues that “[e]ach time a merchant re-submitted a previously-rejected

withdrawal request through the ACH Network, anywhere from three to twelve days following

the original return, the merchant made a ‘withdrawal request[.]’” ECF No. 23, p. 7. First, that is

7
  Contrary to Simmons’s argument, Plaintiffs do not argue that it is improper for a merchant to
re-submit the same transaction for payment multiple times or that it is improper for Simmons to
re-process the same transaction. Instead, Plaintiffs contend that Simmons’s contract prohibits it
from assessing two or three fees on repeated resubmissions of the same transaction or “item”.
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false. A merchant, under the NACHA Rules and common sense, cannot make a “withdrawal

request” on its own. That is called fraud. All a merchant can do is process a withdrawal request

made by an accountholder. Second, the contract provision relied upon by Simmons is irrelevant

anyway because it makes no reference whatsoever to Return Item Fee assessment or to multiple

fees on the same item. The provision relied upon by Simmons says merely:

       Overdrafts - You understand that we may, at our discretion, honor withdrawal
       requests that overdraw your account. However, the fact that we may honor
       withdrawal requests that overdraw the account balance does not obligate us to do
       so later. So you can NOT rely on us to pay overdrafts on your account regardless
       of how frequently or under what circumstances we have paid overdrafts on your
       account in the past. We can change our practice of paying overdrafts on your
       account without notice to you. You can ask us if we have other account services
       that might be available to you where we commit to paying overdrafts under
       certain circumstances, such as an overdraft protection line-of-credit or a plan to
       sweep funds from another account you have with us. You agree that we may
       charge fees for overdrafts. For consumer accounts, we will not charge fees for
       overdrafts caused by ATM withdrawals or one-time debit card transactions if you
       have not opted-in to that service. We may use subsequent deposits, including
       direct deposits of social security or other government benefits, to cover such
       overdrafts and overdraft fees.

Ex. 2 to ECF No. 23. It provides no language about when and in what number fees are assessed

and has no bearing on the instant dispute. Instead, for guidance on authorized fee assessment in

Simmons’s contract, one must look to the Fee Schedule, which makes the plain, express “per

item” promise discussed above. 8



8
  Simmons’s arguments about the meaning of the NACHA Rules are nonsensical and self-
contradictory. On the one hand, it argues that the NACHA Rules make clear “that the sequence
of rejecting payment and returning an entry for insufficient funds ‘can take place only once;
there is no further recourse available to the parties within the ACH Network.’” (emphasis
added by Simmons). But then it immediately recognizes that “the NACHA rules allow a
merchant (and its bank) to ‘[r]einitiate an entry’ through the ACH Network ‘a maximum of two
times following the return of the original entry.’” Both cannot be true. Contrary to Simmons’
argument that processing of an item “can only take place once,” there is an entire process for
reinitiations of “entries,” so obviously processing of an item can take place more than once. The
provision highlighted and bolded by Simmons merely states that each time an entry is returned,
the participants in the system can only take the steps listed, in the order they are listed (they
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         Simmons relies heavily on Lambert v. Navy Federal Credit Union, 2019 WL 3843064

(E.D. Va. Aug. 14, 2019). However, in that case, the trial court determined each reprocessing

attempt was a new “debit” or debit attempt, and each “debit” was eligible for a new NSF Fee, by

relying on contract language Simmons does not use. By contrast, here there is no definition of

“item”     and    the   definition   of      “debit”    is   not   at   issue.   Indeed,   the   court

in Perks distinguished Lambert v. Navy Federal on the just that basis that the contract provisions

in that case were substantively different:

         In Lambert v. Navy Federal Credit Union, 2019 WL 3843064 (E.D. Va. Aug. 14,
         2019) the contract authorizing NSF fees stated that “[a] fee may be assessed . . .
         for each returned debit item.” Id. at *3 (ellipses in original). It then defined
         “items” to include “all . . . Automated Clearing House (ACH) debits,” and the
         parties agreed that “an ‘item’ is a request or invitation for payment.” Id. Thus it
         was clear that the contract at issue in that case authorized NSF fees on each
         returned ACH debit request, regardless of its status as a submission or
         resubmission. Id. at *3–4. By contrast, the Agreement does not define “item” as
         broadly as a request for payment. Nor does it authorize fees on all ACH debits;
         but rather on “[an] ACH transaction,” which could encompass all resubmissions
         associated with a single transaction.

2020 WL 1272246, at *3 (internal citations omitted). For the reasons that the Perks court

distinguished Lambert, it is also irrelevant here. Lambert also predates the numerous other

decisions cited herein, all of which rejected Lambert’s analysis. Lambert is, to put it mildly,

against the great weight of authority. 9

         B.      Ms. Wilkins and Mr. Watson Have Valid Contract Claims.

         In an attempt to show that Ms. Wilkins and Mr. Watson do not have a breach of contract

claim, the Bank contends that under Arkansas law, Ms. Wilkins and Mr. Watson must show they


cannot, for example, have an offline conversation about whether a given payment was properly
coded, or processed, or authorized) – and participants cannot again take those discrete steps until
the same entry is “reinitiated” per the NACHA Rules.
9
  It should be noted that despite the dismissal of plaintiff’s claims in Lambert at the trial court
level, and while the matter was on appeal in the Fourth Circuit, the parties in Lambert recently
agreed to a class-wide settlement that will provide significant benefits to the class.
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“did what the contract required.” See ECF No. 23, p. 10. There are numerous problems with

this argument. First, Arkansas law does not impose such a requirement as the Bank suggests.

The three cases that Simmons cites for this requirement – Ramthun v. Bryan Career College,

Inc., 93 F. Supp. 3d 1011, 1023 (W.D. Ark. 2015), Commercial Credit Grp. Inc. v. Allianz

Global Corp. & Specialty N. Am., 2018 WL 1575823, at *5 (E.D. Ark. Mar. 30, 2018), and

Moore v. Mack’s Sport Shop, LLLP, 2017 WL 4350980, at *11 (E.D. Ark. Sept. 29, 2017) – all

cite the same Arkansas Supreme Court case, Foreman School District No. 25 v. Steele, 61

S.W.3d 801 (Ark. 2001), in support of this premise. Foreman, however, did not hold that a

plaintiff must show that he or she “did what the contract required” in order to state a valid claim

for breach of contract, but rather held “[a] person may be liable for breach of contract if the

complaining party can prove the existence of an agreement, breach of the agreement, and

resulting damages.” Id. at 807 (citing Ultracuts Ltd. v. Wal-Mart Stores, Inc., 33 S.W.3d 128,

133 (Ark. 2000) (same) (emphasis added). Defendant’s attempt to create new criteria for a

breach of contract claim beyond those stated by the Arkansas Supreme Court should be rejected.

       Second, Simmons’s attempt to suggest its breach is somehow excused by a subsequent

breach by Ms. Wilkins and Mr. Graham is inconsistent with Arkansas law. 10 Arkansas law

recognizes that “[w]here one party breaches a contract and defends that the other party did so

first, defendant’s obligation to perform may be discharged if plaintiff’s breach is material and

sufficiently serious.” Mobil Expl. & Producing N. Am., Inc. v. Graham Royalty Ltd., 910 F.2d

504, 507 (8th Cir. 1990) (citing TXO Production Corp. v. Page Farms, Inc., 698 S.W.2d 791,

793 (Ark. 1985)). Unfortunately for Simmons, it was the party that breached the contract first by

assessing multiple fees on the same item. The alleged subsequent failure of Ms. Wilkins or Mr.

10
  The Bank does not assert this argument as to Plaintiff Graham. Therefore, even if the Court
were to accept this argument, it would not result in the dismissal of Ms. Graham’s claims.
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Graham to immediately repay their account shortages does not undo the Bank’s prior breach.

See, e.g., Bank of Am., N.A. v. JB Hanna, LLC, 766 F.3d 841, 854 (8th Cir. 2014) (finding bank’s

breach irrelevant because it did not occur prior to the default by defendant). The Bank’s attempt

to excuse its breach by relying on subsequent behavior by Plaintiffs is unpersuasive. 11

       Finally, courts have universally found that the liability to repay a defendant is sufficient

to state a valid claim, even if the plaintiff never paid the fee or amount owed in question. See,

e.g., Just Film, Inc. v. Buono, 847 F.3d 1108, 1119 (9th Cir. 2017); Carter v. HealthPort Techs.,

LLC, 822 F.3d 47, 51 (2d Cir. 2016); Hamilton v. SunTrust Mortg. Inc., 6 F. Supp. 3d 1300,

1307 (S.D. Fla. 2014); McCracken v. Verisma Sys., 131 F. Supp. 3d 38, 42 (W.D.N.Y. 2015).

As Simmons contends throughout its brief, Ms. Wilkins and Mr. Watson have “an obligation to

repay” the amounts they have overdrawn their accounts. See ECF No. 23, pp. 3, 11. Further,

Simmons has made it clear it intends to countersue Plaintiffs Wilkins and Watson for these

outstanding amounts. Id. at 2, n.1. This obligation to pay, which the Bank has openly embraced,

allows Ms. Wilkins and Mr. Watson to pursue this claim.

       McCracken v. Verisma Systems is likewise instructive. There, the plaintiffs, all of whom

were patients who received medical treatment at the healthcare facility, claimed that Defendants

charged them excessively for copies of their medical records, in violation of the relevant New

York statutes. 131 F. Supp. 3d at 41. Defendants challenged the plaintiffs’ ability to bring the

claim on the grounds that they never actually paid the copying expenses that they claimed were



11
   Moreover, Defendant’s allegations about Plaintiffs’ breach are based on documents beyond the
four corners of the Amended Complaint. Therefore, they are inadmissible at this stage. E.g.,
Elder v. Gillespie, 2020 WL 2813524, at *4 (E.D. Ark. May 29, 2020) (“When considering a
motion to dismiss, a court may consider materials that are part of the public record, do not
contradict the complaint, or are necessarily embraced by the pleadings”) (citing BJC Health Sys.
v. Columbia Cas. Co., 348 F.3d 685, 687-88 (8th Cir. 2003); Noble Sys. Corp. v. Alorica Cent.,
LLC, 543 F.3d 978, 982 (8th Cir. 2008).
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excessive. Id. The district court rejected this argument, finding that “Plaintiffs ha[d] pleaded

facts, and attached documentary evidence indicating that, at the time the Firm incurred the

copying expenses, Plaintiffs were legally obligated to reimburse the Firm for expenses incurred

in connection with representing them.” Id. at 42. The court further held that the “liability to

repay the Firm for the copying expenses has given Plaintiffs standing to challenge the copying

charges as excessive” under the statutes in question. Id. See also Carter, 822 F.3d at 51

(holding that because plaintiffs bore the ultimate expense for paying for the records, they had

standing to challenge amount of fee being charged).

       Hamilton is also informative. There, the defendants claimed that Hamilton was not a

proper plaintiff because she never paid for any of the force-placed insurance at issue in the case

because “it was not placed until 2010 – two years after she stopped paying her mortgage.” 6 F.

Supp. 3d at 1307. In response, the plaintiffs argued they could pursue the claim because “under

the terms of her mortgage contract, the force-placed insurance premiums are automatically added

to her total debt.” Id. In finding that Hamilton had standing, the district court concluded, “it is

undisputed that Hamilton’s account has already been charged for the force-placed insurance

premiums. If Hamilton is successful in this action, her total debt may be reduced.” Id. See also

Williams v. Wells Fargo Bank, 280 F.R.D. 665, 673 (S.D. Fla. 2012) (certifying class of

borrowers in force-placed insurance case to include those whom had been charged and either

paid or still owed bank for premiums); In re Chase Bank USA, N.A. “Check Loan” Contract

Litig., 274 F.R.D. 286, 292-93 (N.D. Cal. 2011) (rejecting argument that putative class

representatives who owed money to bank were inadequate); Lane v. Wells Fargo Bank, N.A.,

2013 WL 3187410, at *11 (N.D. Cal. June 21, 2013) (finding borrowers had standing to bring

force-placed insurance claims even though they had not yet paid any portion of premiums).



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         Here, Ms. Wilkins and Mr. Watson have “an obligation to repay” the amounts they have

overdrawn their accounts. Accordingly, Plaintiffs Wilkins and Watson can pursue their claims.

Any subsequent breach of the parties’ contract by Plaintiffs would not change this analysis.

         E.     Plaintiffs Have Properly Pled Claims for Unjust Enrichment

         Plaintiffs have also stated a valid claim for unjust enrichment. Unjust enrichment is an

equitable doctrine. Servewell Plumbing, LLC v. Summit Contractors, Inc., 210 S.W.3d 101, 112

(Ark. 2005). “It is the principle that one person should not be permitted unjustly to enrich

himself at the expense of another, but should be required to make restitution of or for property or

benefits received, retained, or appropriated, where it is just and equitable that such restitution be

made, and where such action involves no violation or frustration of law or opposition to public

policy, either directly or indirectly.” Id.; see Brown v. Brown, 152 S.W.3d 911, 916 (Mo. Ct.

App. 2005) (describing unjust enrichment under Missouri law).

         Rule 8 permits a plaintiff to plead alternative claims, regardless of consistency. Fed. R.

Civ. P. 8(d). Simmons contends that Plaintiffs cannot succeed on their contract claim. If

Plaintiffs’ contract claim fails, Plaintiffs may be entitled to recover under a theory of unjust

enrichment. Simmons has not established that it had a contractual or legal right to assess (a)

more than one Return Item Fee on the same item; and (b) both Return Item Fees and OD Fees on

the same item. Accordingly, Plaintiffs have sufficiently alleged a claim for unjust enrichment as

an alternative claim for relief. E.g., Hughes v. TD Bank, N.A., 856 F. Supp. 2d 673, 682 (D.N.J.

2012).

         “The mere existence of a contract between the parties does not automatically foreclose a

claim of unjust enrichment.” Deutsche Bank Nat’l Trust Co. v. Austin, 385 S.W.3d 381, 387

(Ark. App. 2011) (citing Campbell v. Asbury Auto. Inc., 381 S.W.3d 21 (Ark. 2011)). A court



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may “impose the remedy of unjust enrichment to further the ends of justice when the express

contract does not exist, is void, does not provide an answer, or fully address a subject.” Id. See

also Access Mediquip, LLC v. St. Vincent Infirmary Med. Ctr., 2012 WL 4359055, at *6 (E.D.

Ark. 2012) (finding existence of contract does not foreclose unjust enrichment claim where

contract does not fully address the issue at hand and allowing pleading of unjust enrichment as

alternative to breach of contract claim).

       In Campbell, the Arkansas Supreme Court reversed a lower court’s grant of summary

judgment on the issue of unjust enrichment and stated “[t]his court has, in fact, observed that

‘[t]here can be no ‘unjust enrichment’ in contract cases.’ However, there are exceptions to that

rule.” 381 S.W.3d at 22 (internal citations omitted). Campbell recognized the exceptions of

rescission at law, discharge by impossibility, frustration of purpose, and fundamental mistake by

the parties. Id. Relying on authority from the Eighth Circuit, the court held:

       ‘We must remember that the rules of common law, especially rules which concern
       forms of pleading, should never be taken beyond the reason which gave them
       birth. The reason for the rule that someone with an express contract is not allowed
       to proceed on an unjust enrichment theory, is that such a person has no need of
       such a proceeding, and, moreover, that such a person should not be allowed by
       means of such a proceeding to recover anything more or different from what the
       contract provides for. Here, that reason does not apply. . . . When the reason for
       the rule ceases, the rule itself ceases to apply. No injustice whatsoever is done to
       [the Defendant] by this result. Indeed, it would be a gross injustice to [the
       Plaintiff] to apply woodenly the technical rule on which [the Defendant] relies on
       this appeal.’

Id. at 23 (quoting U.S. v. Applied Pharm. Consultants, Inc., 182 F.3d 603, 609 (8th Cir. 1999)).

       As in Applied Pharmacy and Campbell, Plaintiffs here are not seeking to “recover

anything more or different from what the contract provides for” through his claim for unjust

enrichment. Id. Consequently, the general rule that an express contract operates to bar a claim

for unjust enrichment does not apply.



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       The Bank’s claim that no injustice has been imposed on either Ms. Wilkins or Mr.

Watson is unpersuasive. The Bank’s assessment of fees at the time when it was not entitled to

such fees was both impermissible and unjust. That Plaintiffs Wilkins and Watson may have

subsequently done something the Bank claims is unjust does not undo or negate the Bank’s prior

behavior. Each Plaintiff has sufficiently alleged that Simmons was unjustly enriched.

V.     CONCLUSION

       Plaintiffs’ claims are validly pled and Defendant’s Motion should be DENIED. Should

the Court determine that any of the claims are subject to dismissal, Plaintiffs respectfully request

leave to replead pursuant to Rule 15.

       Dated: August 24, 2020.                      Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 24, 2020, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which shall send notification of such filing to all counsel

of record.

                                                    E. Adam Webb




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